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                                             August 28, 2024
Via ECF

The Honorable Katherine Polk Failla, U.S.D.J.
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

                       Re:     Securities and Exchange Commission v. Coinbase, Inc. and
                               Coinbase Global, Inc., 23 Civ. 4738 (KPF)

Dear Judge Failla:

        We write in response to Plaintiff Securities and Exchange Commission’s (“SEC”) Notice of
Supplemental Authority, ECF No. 158, concerning an order by the U.S. District Court for the Western
District of Washington in FTC v. Amazon.com, Inc., No. 2:23-cv-00932-JHC (the “Order”). Coinbase
respectfully submits that the Order provides no bearing on Coinbase’s motion.

        First, the Washington court already had “rejected Defendants’ fair notice” defense based on
its finding that defendants failed to identify any prior FTC statements reflecting a position on the
relevant statute. Order at 9. The Order was predicated on that prior finding. Id. at 11. Here, by contrast,
the Court has made clear that the fair notice defense remains alive to be adjudicated based on an
evidentiary record, Dkt. 137 at 19:11-14, and Coinbase’s fair notice defense is grounded in numerous
public statements and actions by the SEC — including the 2018 Hinman Speech, the 2019
Framework, and Chair Gensler’s 2021 sworn Congressional testimony that “there is not a market
regulator around [] crypto exchanges” — concerning the statute at issue and the SEC’s authority (or
lack thereof) to regulate secondary-market transactions in digital assets, see Dkt. 148 at 6-10.

         Second, the scope of documents at issue in the Order differs materially from the discovery
dispute at issue in Coinbase’s motion. The only “‘fair notice’ defense” documents at issue in Amazon
were the FTC’s purely “internal discussions regarding its interpretation” of the relevant statute. Order
at 4; see also id. at 9 (same). The SEC fails to note that the FTC had already produced
(i) “communications between the FTC and third parties” and (ii) “non-privileged FTC internal
documents concerning any final decision as to what guidance the FTC staff may provide third
parties,” id. at 3 — precisely the types of documents the SEC refuses to search for and produce or log
in this litigation, requiring Coinbase’s resort to a motion to compel. Dkt. 148 at 6-10.

      For the reasons previously stated, the Court should grant the pending motion to compel.
Coinbase looks forward to the opportunity to address any questions from the Court.
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                                                  Respectfully,
                                                  /s/ William Savitt         .




                                                  William Savitt

cc:    all counsel of record (via ECF)
